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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


 Susan Phillips,

         Plaintiff,                                Case No.: 1:22-cv-01048
                                                   Hon. Judge Andrea R. Wood
 v.

 The United States of America,

         Defendant.


                   MOTION FOR LEAVE TO WITHDRAW APPEARANCE

        Pursuant to Local Rule 83.17, Plaintiff Susan Phillips hereby moves to withdraw the

appearance of David A. Neiman of Wallace Miller. Michael P. Lewis, Jeremy A. Tor, and

Nicholas A. DiCello of Spangenberg Shibley & Liber LLP will continue to act as counsel for

Susan Phillips.



Dated: February 5, 2025
                                                     Respectfully Submitted
                                                     /s/ David A. Neiman
                                                     David A. Neiman
                                                     WALLACE MILLER
                                                     150 N. Wacker Drive, Suite 1100
                                                     Chicago, IL 60606
                                                     T 312.261.6193
                                                     F 312.275.8174
                                                     E. dan@wallacemiller.com

                                                     Counsel for Plaintiff




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